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                 IN THE UNITED STATES DISTRICT COURT FOR;,,
                     THE SOUTHERN DISTRICT OF GEORGIA
                            STATESBORO DIVISION                            '
                                                        CL
WESLEY B. AIKENS,                      )

        Plaintiff,

kta                                              CASE NOS. CV610-025
                                                           CR607O31
UNITED STATES OF AMERICA,

        Defendant.


                                   0 R D E R

        Before the Court is the Magistrate Judge's Report and

Recommendation (Doc. 6), to which no objections have been filed.

After a careful de novo review of the record, the report and

recommendation is ADOPTED as the Court's opinion in this case.

As a result, Plaintiff's motion under 28 U.S.C. § 2255 (Doc. 1)

and Motion for Release of Real/Personal Property (Doc. 3) are

DENIED. Accordingly, the Clerk of Court is DIRECTED to close

this case.

        SO ORDERED this   2ê ,6 day of June 2010.

                               WILLIAM T. MOORE, JR.6'
                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF GEORGIA
